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8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )
12             Plaintiff,          )              1:95-CR-5193 AWI
                                   )
13        v.                       )              ORDER
                                   )
14   STACEY RENA CANDLER,          )
                                   )
15             Defendant.          )
     ______________________________)
16
17          Having read and considered the government’s motion to continue
18   the defendant’s hearing on her motion to reduce her sentence
19   pursuant to 18 U.S.C. Section 3582(c)(2),
20          IT IS HEREBY ORDERED that the hearing noticed for February 25,
21   2008, at 9:00 a.m. is vacated and set for March 3, 2008, at 9:00
22   a.m.
23
24   IT IS SO ORDERED.
25   Dated:    February 15, 2008               /s/ Anthony W. Ishii
     0m8i78                              UNITED STATES DISTRICT JUDGE
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